         Case: 23-5600     Document: 174      Filed: 06/25/2024     Page: 1

                Supreme Court of the United States
                       Office of the Clerk
                   Washington, DC 20543-0001
                                                                     Scott S. Harris
                                                                     Clerk of the Court
                                                                     (202) 479-3011
                                   June 24, 2024


  Clerk                                                                      FILED
  United States Court of Appeals for the Sixth Circuit                     Jun 25, 2024
  540 Potter Stewart U.S. Courthouse                               KELLY L. STEPHENS, Clerk
  100 East Fifth Street
  Cincinnati, OH 45202-3988


        Re: United States
            v. Jonathan Skrmetti, Attorney General and Reporter for
            Tennessee, et al.
            No. 23-477
            (Your No. 23-5600)


  Dear Clerk:

        The Court today entered the following order in the above-entitled case:

        The petition for a writ of certiorari is granted.



                                          Sincerely,




                                          Scott S. Harris, Clerk




Case 3:23-cv-00376    Document 194      Filed 06/25/24      Page 1 of 1 PageID #: 2910
